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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


    In re:                                                         Chapter 11

    MOUNTAIN EXPRESS OIL COMPANY, et al., 1                        Case No. 23-90147 (DRJ)

             Debtors.                                              (Jointly Administered)


         MCLANE COMPANY, INC.’S LIMITED OBJECTION TO DEBTORS’ CURE
             AMOUNT FOR THE DISTRIBUTION SERVICE AGREEMENT
                           [Relates to Docket No. 728]

             McLane Company, Inc. (“McLane”) hereby files this limited objection (the

“Objection”) to the Debtors’ Notice to Counterparties to Potentially Assumed Executory

Contracts and Unexpired Leases [Docket No. 728] (the “Cure Notice”), and in support thereof

respectfully states as follows:

                                                BACKGROUND

             1.     McLane and Debtor West Hill Ranch Group LLC are parties to that certain

Distribution Services Agreement dated August 24, 2021 (as subsequently modified or amended,

including by that certain First Amendment to the Distribution Service Agreement dated October

20, 2021, the “DSA”).

             2.     On March 18, 2023 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code) in the

United States Bankruptcy Court for the Southern District of Texas (the “Court”).

             3.     Under the DSA, the Debtors are required to pay for all products received and

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        A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the
        Debtors’ claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
        Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 cases
        is 3650 Mansell Road, Suite 250, Alpharetta, GA 30022.



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services rendered by McLane within seven days of receipt of a statement. See DSA, Section 3.3.

McLane makes deliveries to the Debtors’ stores on a near daily basis. As of the Petition Date,

McLane was owed approximately $300,000 for goods delivered under the DSA (the

“Prepetition Balance”).

       4.      The entirety of the Prepetition Balance stemmed from goods delivered within the

twenty-day period prior to the Petition Date, thus the entirety of the Prepetition Balance was

entitled to administrative priority pursuant to section 503(b)(9) of the Bankruptcy Code.

       5.      On March 21, 2023, the Debtors filed the Debtors’ Emergency Motion for Entry

of Order (I) Authorizing the Debtors to Pay Certain Prepetition Claims of Lien Claimants and

Critical Vendors and (II) Granting Related Relief [Docket No. 46] (the “Critical Vendor

Motion”). The following day the Court entered the Order (I) Authorizing the Debtors to Pay

Certain Prepetition Claims of Lien Claimants and Critical Vendors; (II) Authorizing Banks to

Honor and Process Related Checks and Electronic Transfers; and (III) Granting Related Relief

[Docket No. 88] (the “Critical Vendors Order”), granting the Critical Vendors Motion.

       6.      The Critical Vendors Order authorized, among other things, the Debtors to pay

certain critical prepetition vendors’ claims in accordance with terms at least as favorable to the

Debtors as the terms in place in the twelve months prior to the Petition Date, so long as such

claimants continued to supply the Debtors with goods on a postpetition basis. The Debtors, as

authorized by the Critical Vendors Order, paid McLane the entirety of the Prepetition Balance,

and, consistent with the Critical Vendors Order, McLane has continued to supply, on a near daily

basis, the Debtors with goods on credit consistent with the terms of the DSA.

       7.      On June 22, 2023, the Court entered the Order (I) Approving Bid Procedures for

the Sale of the Debtors’ Assets, (II) Approving Bid Protections, (III) Scheduling Certain Dates




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with Respect Thereto, (IV) Approving the Form and Manner of Notice Thereof, and (V)

Approving Contract Assumption and Assignment Procedures [Docket No. 701] (the “Bid

Procedures Order”), which, among things, authorized certain procedures regarding the

assumption and assignment of executory contracts and unexpired leases in connection with the

Debtors’ proposed sale of substantially all of their assets (the “Sale”).

       8.       On June 28, 2023, the Debtors filed the Cure Notice which included a list,

attached as Exhibit A to the Cure Notice, of contracts to be potentially assumed and assigned in

connection with the Sale.

       9.       The DSA was listed on Exhibit A to the Cure Notice with an estimated cure

amount of $0.00 (the “Proposed Cure Amount”).

                                        LIMITED OBJECTION

       10.      As noted above, McLane provides the Debtors goods on a near daily basis, and, as

a result of such deliveries and the Debtors’ post-petition payments on account of such deliveries,

the amount owed for goods and services provided under the DSA varies day to day.

       11.      Accordingly, while McLane does not currently object to the Proposed Cure

Amount as inaccurate, McLane expressly reserves the right to object to the Proposed Cure

Amount to the extent any amounts are due and owing as of the time of any future assumption or

assumption and assignment in connection with the Sale or otherwise. 2




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    McLane also expressly reserves its right to object on the basis of adequate assurance of future performance at
    the time a purchaser (if any) in connection with the Sale is identified.



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                              RESERVATION OF RIGHTS

       12.   McLane reserves its rights to be heard regarding all assumption and cure issues.

       13.   Furthermore, McLane reserves the right to object, update, supplement, and revise

the Proposed Cure Amount with respect to the DSA at any time before the assumption of the

DSA.

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Dated: July 12, 2023                        Respectfully submitted,

                                            HUNTON ANDREWS KURTH LLP

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                                            Counsel for McLane Company, Inc.




                               CERTIFICATE OF SERVICE

       I certify that, on July 12, 2023, I caused a true and correct copy of this document to be
served (i) by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas on those parties registered to receive electronic notices.

                                           /s/ Brandon Bell
                                           Brandon Bell




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